        2:18-cv-02249-CSB-EIL # 38           Page 1 of 2                                            E-FILED
                                                                   Thursday, 29 August, 2019 01:22:25 PM
                                                                             Clerk, U.S. District Court, ILCD
1997-27 JDF/njk
                                 UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF ILLINOIS
                                       URBANA DIVISION

JANE DOES, as Parent and Next Friend of             )
K.B., a minor,                                      )
                                                    )
       Plaintiff,                                   )
                                                    )
       vs.                                          )   Case No.: 18-cv-2249-CSB-EIL
                                                    )
URBANA SCHOOL DISTRICT #116,                        )
SCOTT WOODS, DONALD D. OWENS, Ed.D., and            )
THE URBANA SCHOOL DISTRICT #116 BOARD               )
OF EDUCATION,                                       )
                                                    )
       Defendants.                                  )

                        MOTION TO WITHDRAW MOTION TO DISMISS

       NOW COMES the Defendant, SCOTT WOODS, by John D. Flodstrom of HEYL, ROYSTER,

VOELKER & ALLEN, his attorneys, and as and for his Motion to Withdraw his Motion to Dismiss

(Doc. #35), states as follows:

       1.       The Defendant Woods filed a Motion to Dismiss based on the Plaintiff’s failure to

produce discovery responses within the time deadline set by this Court. However, the Plaintiff

has produced the discovery responses and the Motion to Dismiss is now moot.

       WHEREFORE, the Defendant, Scott Woods, withdraws his Motion to Dismiss.

                                             s/John D. Flodstrom
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                                             Attorney for Defendant Scott Woods
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on August 29, 2019, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to the following:

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